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EXHIBIT 2
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re :

Petition of Frederic Rose, as Foreign In a case under Chapter 15 of the
Representative of Thomson S.A., Debtor in

. . : Bankruptcy Code
a Foreign Proceeding, :
Petitioner. : Case No. 09-__(__)

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DECLARATION OF FREDERIC ROSE

Frédéric Rose, pursuant to 28 U.S.C. § 1746, hereby declares under
penalty of perjury under the laws of the United States of America as follows:

1. I am the Président-Directeur Général, or Chairman and Chief
Executive Officer, of Thomson S.A. (the “Debtor” or “Thomson”), a debtor in a
reorganization proceeding under French law (the “Sauvegarde”), currently
pending before the Tribunal de Commerce de Nanterre (Commercial Court of
Nanterre), France (the “French Court”), and a debtor in the above-captioned
case. I am authorized to act as the foreign representative of Thomson to
commence this Chapter 15 case.

2. I submit this declaration in support of (i) Thomson’s Verified

Petition for Recognition and Chapter 15 Relief (the “Petition”); and (ii)
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Thomson’s Application for Order to Show Cause Applying Provisional Stay,
Scheduling Hearings, and Specifying Form and Manner of Notice (the
“Application”).

Thomson’s Business

3. Thomson is the holding company for a group of approximately 200
direct and indirect subsidiaries in approximately 30 countries. Thomson’s
principal office is located at 1-5, rue Jeanne d’Arc, 92130 Issy-les-Moulineaux,
France (the “Registered Office”).

4, Thomson’s principal assets are the stock of its subsidiaries,
including both operating and licensing companies around the globe. Thomson
owns all of the stock of Thomson, Inc., a Delaware corporation that is its principal
direct subsidiary, which in turn directly owns ten major subsidiaries in the United
States. The United States is Thomson’s most important market. In 2008,
approximately 47% of Thomson’s net revenues were generated from the United
States. Unless these assets are protected pending recognition of the Sauvegarde
by this Court, Thomson and its creditors will be injured, and its ability to
complete its Sauvegarde will be jeopardized.

5, Thomson, through its subsidiaries, is one of the world’s leading
providers of solutions for the creation, management, delivery and access of video,
audio, data and voice for the communication, media and entertainment industries.
Thomson’s clients are studios, broadcasters, network operators and other

professional users of video. Based on a broad portfolio of intellectual property,
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Thomson provides a unique combination of industry-leading technologies,
systems and services providing end-to-end solutions.

6. Thomson manages its business centrally, in Issy-les-Moulineaux, a
suburb of Paris, France. Thomson’s policies and direction are set by its
management and its board of directors, all of whom are located in Issy-les-
Moulineaux, as are most of Thomson’s direct employees.

7. As part of its central management function, Thomson provides
various administrative services to its principal subsidiaries, including,
importantly, acting as their financing arm. Substantially all of the external debt of
the Thomson group is held at Thomson, and Thomson maintains a cash
management system that provides financing to its operating entities.

Thomson’s Capital Structure

8. Thomson’s financial debt, as it is relevant here, includes privately
placed notes and a multicurrency syndicated revolving credit facility. The total
amount of debt outstanding under these instruments is approximately €2.9 billion,
or $3.77 billion.

9. Thomson’s privately placed notes (the “Notes”) are held
predominantly in the United States and, to a limited extent, in England by a large
number of financial institutions. The Notes were issued pursuant to the following

agreements:

e Note Purchase Agreement dated as of June 30, 2003, as amended on
November 10, 2005, between Thomson and the various purchasers of
Notes as defined therein, relating to $96 million aggregate principal
amount of 4.13% Senior Notes, Series A, due 2010, $192 million
aggregate principal amount of 4.74% Senior Notes, Series B, due 2013,
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and $118 million aggregate principal amount of 4.84% Senior Notes,
Series C, due 2015.

e Note Purchase Agreement dated as of December 18, 2003, as amended on
November 10, 2005, between Thomson and The Prudential Assurance
Company Limited, Panther CDO I. B.V., Prudential Annuities Limited,
Magim Client HSBC GIS Nominees (UK) Limited AGA Account and
Prudential Retirement Income Limited as noteholders, relating to £34
million aggregate principal amount of 6.11% Senior Notes, Series D, due
2013.

e Note Purchase Agreement dated as of May 17, 2006, between Thomson
and the various purchasers of Notes as defined therein, relating to $72.5
million aggregate principal amount of 6.05% Senior Notes, Series A, due
2009, $191.5 million aggregate principal amount of 6.20% Senior Notes,
Series B, due 2011, $110 million aggregate principal amount of 6.33%
Senior Notes, Series C, due 2013, $26 million aggregate principal amount
of 6.47% Senior Notes, Series D, due 2016, $20 million aggregate
principal amount of Floating Rate Senior Notes, Series E, due 2009 and
$30 million aggregate principal amount of Floating Rate Senior Notes,
Series F, due 2011.

e Note Purchase Agreement dated as of October 27, 2006, as amended on
January 15, 2009, between Thomson and Deutsche Bank AG, London
Branch as purchaser, relating to $100 million aggregate principal amount
of Floating Rate Senior Notes, Series A, due 2016, and $100 million

aggregate principal amount of Floating Rate Senior Notes, Series B, due
2016.

e Note Purchase Agreement dated as of December 6, 2006, between
Thomson and Deutsche Bank AG, London Branch as purchaser, relating

to €100 million aggregate principal amount of Floating Rate Senior Notes,
due 2013.

e Note Purchase Agreement dated as of October 24, 2007, as amended on
May 6, 2008, between Thomson and Deutsche Bank AG, London Branch
as purchaser, relating to €50 million aggregate principal amount of
Floating Rate Senior Notes, Series A, due 2012 and €100 million
aggregate principal amount of Floating Rate Senior Notes, Series B, due

2014.
10. Under each of these issues, Thomson has submitted to jurisdiction

of the federal and state courts in New York. Each of the note purchase

agreements described above states:
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“The Company irrevocably submits to the non-exclusive in personam

Jurisdiction of any New York State or federal court sitting in the Borough

of Manhattan, The City of New York, over any suit, action or proceeding

arising out of or relating to this Agreement, or the Notes.”

11. Thomson also has a multicurrency syndicated revolving credit
facility entered into on July 5, 2004, as amended on June 22, 2005, between
Thomson and Calyon, London Branch, as agent, the Lenders as defined therein
and various banks in their capacity as mandated lead arrangers in the amount of
€1,750 million (the “Syndicated Facility”). The Syndicated Facility has been
almost fully drawn. Pursuant to the terms of the Syndicated Facility, Thomson is
obligated to repay €100 million in May 2009, €256 million in June 2011 and
€1,394 million in June 2012. The Syndicated Facility is subject to English law.

12. In addition, in September 2005, Thomson S.A. issued super-
subordinated notes without a fixed maturity (titres super subordonnés, or “TSS”),
subject to French law, with a nominal value of €500 million and listed on the
Luxembourg Stock Exchange. Due to their absence of fixed maturity, their
subordinated nature and the optional nature of the coupon, the TSS are accounted

for by Thomson as quasi-equity. The TSS are not taken into account in the

calculation of the net financial debt of Thomson.

Business Challenges

13. In 2008, Thomson’s debt became burdensome due to a rise in
working capital needs of approximately €350 million; restructuring costs of

approximately €80 million; and other non-operating items of approximately €300

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million, including a related non-cash impact of approximately €220 million,

principally due to the impact of exchange rate fluctuations on Thomson’s debt.

Thomson’s estimated net debt at December 31, 2008 was approximately €2.1

billion,

corresponding to a gross debt of approximately €2.9 billion and a cash

position of approximately €0.8 billion.

14. On January 28, 2009, Thomson issued a press release indicating

that, when its audited financial results were released in April 2009, it would likely

be in breach of one of the financial covenants of its Notes. The press release

stated:

“The Notes contain covenants requiring the net debt to net worth ratio as
at December 31, 2008 not to exceed 1:1. This ratio will be measured
based on the company’s 2008 audited consolidated financial statements
when available. Based on preliminary unaudited data, it is likely that
when the 2008 audited consolidated financial statements are completed
and available at the latest by the end of April 2009, this covenant will be
breached. Thomson intends to engage with the noteholders to discuss a
resolution of any potential future covenant breach so as to avoid a decision
by the noteholders to accelerate the Notes, which could trigger
acceleration of substantially all of the group’s senior debt.”

Thereafter, on March 10, 2009, Thomson issued another press release stating

“As explained above, the Group will be faced, at the date when its audited
2008 financial statements are available, with a breach of covenants
contained in financial agreements. The Board of Directors has carefully
assessed the Group’s ability to continue as a going concern for the next 12
months and has determined it was appropriate to do so, based on cash flow
projections showing that, if it is successful to prevent an acceleration of its
senior debt within that period, it will meet its expected cash requirements
until at least 31 December 2009, and on the ability to start judicial
proceedings under French law to suspend the potential implications of any
such acceleration.

Thomson has presented to its principal creditors and potential equity
investors its strategic framework and started a dialogue regarding its
balance sheet, the level of its indebtedness and ways to prevent the
acceleration of the Group’s senior debt.”

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Thomson then commenced discussions with its bond and bank creditors in
order to obtain a waiver of certain covenants in each of the agreements
governing the debt. Thomson was able to obtain all necessary waivers on

a temporary basis through June 16, 2009. These waivers were later

extended to expire on July 24, 2009.

15. On July 24, 2009, prior to the expiration of its waivers, Thomson
entered into an agreement to restructure its balance sheet with a majority of its
senior creditors (the “Restructuring Agreement”), at which time Thomson’s
senior creditors also agreed to extend the waivers until November 30, 2009. In
the period following the signing of the Restructuring Agreement, Thomson sought
to reach an agreement with those creditors who did not adhere to the
Restructuring Agreement. These negotiations, however, were unsuccessful. In
order to put an end to the uncertainty which was damaging both to itself and its
partners (including employees, suppliers, and clients), and with its waivers set to
expire on November 30, Thomson commenced a sauvegarde on November 30,
2009. On the same day, an order opening the Sauvegarde was issued by the
French Court.

16. | While the Restructuring Agreement signed by Thomson and a
majority of its senior creditors on July 24, 2009 has expired, the Sauvegarde
restructuring plan which Thomson has submitted to the vote of its creditors and
shareholders is substantially similar to that Restructuring Agreement. Thomson’s

creditors have thus had many months to consider the plan.

The Sauvegarde Procedure

17. A sauvegarde is a proceeding filed under French law, which is part

of the Code de Commerce (the French Commercial Code). The sauvegarde law,

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and Thomson’s Sauvegarde, is described more fully in the accompanying
declaration of Arnaud Pérés (the “Pérés Declaration”).

Thomson’s Sauvegarde

18. | As noted, Thomson was not able to reach an agreement with its
financial creditors before November 30, 2009, when the waivers of its covenant
defaults were set to expire.

19. I have been advised that, under French corporate law, I am the
legal representative of Thomson, vis-a-vis third parties, and therefore I was
responsible for commencing Thomson’s Sauvegarde by filing a requéte (the
“Requéte”) on November 30, 2009 with the Chairman of the French Court.

20. ‘In its order dated November 30, 2009 opening Thomson’s
Sauvegarde (the “Sauvegarde Order’’), the French Court recognized me as the
foreign representative of Thomson, empowered to file this Chapter 15 case. The
Sauvegarde Order is attached, together with an English translation, as Exhibits 1A
and 1B to the Pérés Declaration. The Sauvegarde Order became effective when
issued.

21. On November 30, 2009, Thomson issued a press release
announcing the opening of the Sauvegarde. A true copy of the press release is
attached as Exhibit 2 to the Pérés Declaration.

22. On December 4, 2009, French language versions of the
Sauvegarde Plan together with its Appendices (in English where relevant) were
sent to all Lenders of Record by Registered Post, and notice of the Noteholders’

committee votes was published in the Bulletin des Légales Obligatoires.
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Noteholders were advised that they could inspect the Sauvegarde Plan and its
Appendices at the offices of the administrateur judiciaire (as described in the
Pérés Declaration) or in an electronic data room. On December 9, 2009, the
Sauvegarde Plan was made available on the Thomson website, with the exhibits
thereto having been made available to creditors separately.

23. | Thomson’s creditors’ committees are scheduled to vote on the
Sauvegarde Plan on December 21 and 22, 2009. If the Sauvegarde Plan is
approved by the creditors’ committees, a meeting of Thomson’s shareholders will
be held on January 27, 2010 at which they will vote upon certain resolutions
necessary for the implementation of the Sauvegarde Plan.

24. ‘If the Sauvegarde Plan is not approved by the required majority of
each of the creditors’ committees, or if the shareholders fail to pass the requisite
resolutions, then Thomson will request the French Court to enforce a sauvegarde
plan in accordance with French commercial code provisions.

25. I respectfully seek entry of an order (the “Recognition Order”)
recognizing me as Thomson’s “foreign representative,” as defined in 11 U.S.C.
101(24), and recognizing Thomson’s Sauvegarde as a foreign main proceeding as
defined in 11 U.S.C. §§ 1517(a) and (b)(1).

26. | When the French Court issues its final order recognizing and
enforcing the Sauvegarde plan, | will seek an order of this Court recognizing and
enforcing the final Sauvegarde Order.

27. Under the auspices of the French Court and with the ancillary

assistance of this Court, the ultimate goal of the Sauvegarde is to restructure
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Thomson’s financial debt obligations. To effectuate this goal, I respectfully
request the relief requested in the Petition and in the Application for, inter alia, an

Order to Show Cause Applying Provisional Stay.

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I declare under penalty of perjury under the laws of the United States of

America that the foregoing is, to the best of my knowledge, information and

belief, complete, true and correct.

Executed on this /¥ day of December, 2009

in_ Shy. , France.

